Case 7:12-cr-00043-MFU Document 251 Filed 01/12/23 Page 1 of 2 Pageid#: 3188




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

UNITED STATES OF AMERICA                     )
                                             ) Case No. 7:12-CR-43
v.                                           )
                                             ) By: Michael F. Urbanski
DAVID ANTHONY TAYLOR,                        ) Chief United States District Judge
    Defendant                                )


                                            ORDER

       This matter is before the court to consider the appropriate procedure to conduct the

resentencing in this case. After a 2013 jury trial, sentencing on April 24, 2013, and substantial

post-trial proceedings, this case was transferred to the undersigned on July 19, 2022. On

November 7, 2022, the Fourth Circuit Court of Appeals vacated the judgment and remanded

the case for resentencing in light of United States v. Taylor, 142 S.Ct. 2015 (2022).

       As defendant is incarcerated at a BOP facility out of state, the court is considering

whether to hold the resentencing in person or by videoconference via zoomgov.com. A

standing order reauthorizing videoconference sentencing hearings through April 11, 2023, was

entered today. While the court has the transcript of the three-day trial and prior sentencing

available for its review on ECF, see ECF Nos. 159, 160, 161, and 162, the court is not aware

as to whether either party intends to present sworn testimony at the resentencing hearing.

       Although resentencing by means of zoomgov.com is authorized, the defendant must

consent in writing to this procedure after conferring with his counsel. Accordingly, to facilitate

the scheduling of this resentencing hearing, the court DIRECTS the parties to file a notice

on ECF within 10 (ten) days stating whether they intend to call any witnesses to testify at the
Case 7:12-cr-00043-MFU Document 251 Filed 01/12/23 Page 2 of 2 Pageid#: 3189




resentencing hearing and whether they request to have the hearing conducted in person or by

videoconference. Should defendant consent to proceed by videoconference, counsel should

file his written consent on the docket via ECF. After its review of these filed notices, the court

will determine whether to conduct the resentencing hearing in person or by videoconference.

       It is so ORDERED.

                                             Entered: January 12, 2023

                                             Michael F. Urbanski
                                             Michael F. Urbanski
                                             Chief United States District Judge




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